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                                 EXHIBIT 7
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                                                                     Page 1

 1                  IN THE UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
 2                              TAMPA DIVISION
 3
       MUTUAL OF OMAHA MORTGAGE, INC.)
 4                                            )
              Plaintiff;                      )
 5                                            )
                                              )
 6           -vs-                             ) 8:22-cv-01660-TPB-JSS
                                              )
 7                                            )
       WATERSTONE MORTGAGE                    )
 8     CORPORATION,                           )
                                              )
 9           Defendant.                       )
                                              )
10     ------------------------------)
11
12                        REPORT OF PROCEEDINGS from the
13     deposition of CANDICE ROSEVEAR, taken by Paul W.
14     O'Connor, a CSR within and for the State of Illinois,
15     pursuant to the provisions of the Federal Code of
16     Civil Procedure and Rules of the Supreme Court thereof
17     pertaining to the taking of depositions, at 111 East
18     Wacker Drive, Suite 2600, Chicago, Illinois, 60601,
19     commencing at 9:00 a.m. on July 20, 2023.
20
21
22
23
24

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                                                          Page 6                                                                Page 8
     1          Did you analyze the Creasy report in                1     Q. Of the two analyses?
     2 conjunction with the damages that you're doing or was it     2     A. Correct.
     3 something that just happened to be provided to you along     3     Q. Is it your understanding that Mutual is
     4 with the Oscher Report?                                      4 pursuing the 4.4 million that Mr. Gennarelli calculated
     5    A. I did not review that with respect to my               5 or the 28 million that you've now calculated?
     6 damages report.                                              6      MS. WALTER: Object to form.
     7    Q. So you're not going to opine about the forensic        7      THE WITNESS: A I don't know.
     8 issues, what may or may not be a trade secret, what was      8      MS. KREITER: Q Going back to your analysis
     9 on Waterstone's systems or any of the other topics that      9 versus what you assumed. You assumed liability for
    10 were addressed by Mr. Creasy, correct?                      10 purposes of your damages analysis, is that correct?
    11    A. Correct.                                              11     A. That's correct.
    12    Q. With respect to the Category 2 damages, you           12      MS. WALTER: Object to form.
    13 understand that Mutual previously put forth a damage        13      MS. KREITER: Q When were you retained by Mutual?
    14 demand of approximately 4.4 million. Correct?               14      THE WITNESS: A I don't have the exact date. I
    15    A. That is my recollection.                              15 can get that for you. I want to say estimated date
    16    Q. Who prepared the Category 2 damages analysis          16 sometime before June 1st.
    17 for Mutual previously, the 4.4 million?                     17     Q. Before June 1st?
    18    A. I believe it's in the interrogatories,                18     A. I'm guessing at this point, but.
    19 paragraph three of my report. Where I cite exactly where    19     Q. The Oscher Report was issued on June 5th.
    20 that came from. So but I believe that was prepared by       20           At the time that you were engaged, did the
    21 somebody at Mutual of Omaha Mortgage.                       21 Oscher Report already come out?
    22    Q. My question is are you able to tell me the            22     A. I believe it was after. If I can get the exact
    23 person or persons at Mutual of Omaha that prepared the      23 date for you I'd prefer to answer after I look at my
    24 Category 2 $4.4 million damages analysis?                   24 notes.

                                                          Page 7                                                                Page 9
     1    A. I believe that was Jeff.                               1     Q. Your report indicates that you're charging
     2    Q. Jeff who?                                              2 Mutual of Omaha $500 an hour, is that correct?
     3    A. Gennarelli I believe.                                  3     A. That's correct.
     4    Q. Did anybody else work on that damages analysis         4     Q. Is there a difference in your rate for purposes
     5 with Mr. Gennarelli?                                         5 of deposition testimony versus work preparing the report?
     6      MS. WALTER: Object to form.                             6     A. No.
     7      THE WITNESS: A I don't know.                            7     Q. What is the total fees that you've charged to
     8      MS. KREITER: Q Mutual of Omaha was previously           8 Mutual of Omaha to date?
     9 asserting approximately 4.4 million.                         9     A. I don't have that. I can get that though.
    10           Your report concludes that the estimated          10            It looks like it's actually late June, but
    11 damages are approximately 28 million, is that correct?      11 I can't find it, the engagement letter on my cell. phone.
    12    A. That's correct.                                       12 So. That didn't quite work out.
    13    Q. So different numbers I'm just trying to               13     Q. Okay. Back on the record. We had a brief
    14 understand, did you analyze Mr. Gennarelli's analysis and   14 discussion off the record, you were looking to find the
    15 determine you wanted to go in a different direction or      15 dates you were engaged. You indicated you couldn't
    16 what is the connection between your analysis and            16 locate it on your phone but it may have been later in
    17 Mr. Gennarelli's analysis?                                  17 June?
    18      MS. WALTER: Object to form.                            18     A. Yes.
    19      THE WITNESS: A My analysis --                          19     Q. I'll just ask during a break, you can again
    20      MS. KREITER: Q Let me state it again.                  20 check the date, let me know.
    21           So there's a -- in general, what is the           21     A. Okay.
    22 difference between your analysis and Mr. Gennarelli's       22     Q. We were talking about the fees you charged
    23 analysis?                                                   23 Mutual of Omaha to date. You indicated you couldn't
    24    A. I didn't conduct a comparison.                        24 remember the total fees.

                                                                                                                  3 (Pages 6 - 9)
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                                                         Page 18                                                        Page 20
     1 prepared the data I needed, but I had specific requests      1    A. Of the monthly loan volume at Maryland and
     2 that I sent to Courtney and then Courtney sent it to         2 Saint Louis.
     3 whomever was the appropriate party to send the data back     3    Q. Okay. Just what are the numbers on those
     4 to me.                                                       4 branches or how do they compare to the other branches,
     5      MS. KREITER: Q Do you know whether                      5 what was the ilk of the questions?
     6 Mr. Gennarelli himself supplied data that you relied on      6      MS. WALTER: Object to form.
     7 in conjunction with the report?                              7      THE WITNESS: A Monthly loan volume in dollars.
     8     A. He may have.                                          8      MS. KREITER: Q Other than asking about monthly
     9     Q. But you don't know one way or another?                9 loan volume in dollars with respect to Saint Louis and
    10     A. I don't know.                                        10 Maryland, what else if any questions did you ask about
    11     Q. How many times did you personally speak with         11 those branches?
    12 Mr. Gennarelli?                                             12    A. I wanted to understand if, what their product
    13     A. I think he was on two conference calls.              13 mix was, get a good handle on the type of branch they
    14     Q. How many times did you personally speak with         14 are, how long they had been in existence up to that
    15 Bernie Mayle?                                               15 point. For example.
    16     A. I believe Bernie was present on both calls as        16    Q. Anything else that was the subject matter of
    17 well.                                                       17 that first call?
    18     Q. During the discussion on two calls -- you            18    A. That's the gist of it.
    19 mentioned you had discussions with Mr. Gennarelli in        19    Q. There was a second call that you had with
    20 which you walked through the exhibits and then you said     20 Mr. Gennarelli and Mr. Mayle?
    21 that there was -- is that the subject of one of the         21    A. Yes.
    22 calls?                                                      22    Q. What was the topic of that call?
    23      MS. WALTER: Object to form.                            23    A. That was a little bit farther along in my
    24      MS. KREITER: Let me start again. I want to go          24 analysis when I had prepared exhibits. Same exhibits
                                                         Page 19                                                        Page 21
     1 through both of the calls you had with Mr. Gennarelli.       1 that I include in my report. And the purpose of that
     2 And Mr. Mayle. Let's talk about the first call.              2 call was for me to present my exhibits to the group.
     3     Q. At what point in the process was the first            3     Q. Did Mr. Gennarelli or Mr. Mayle suggest changes
     4 call?                                                        4 to any of the exhibits?
     5      THE WITNESS: A Fairly early on. Maybe a week            5     A. No.
     6 into my engagement.                                          6     Q. Did anyone else from Mutual suggest changes to
     7     Q. Was the purpose of the call for you to elicit         7 any of the exhibits?
     8 information from them that would drive your report           8     A. No.
     9 findings?                                                    9     Q. What about counsel for Mutual?
    10      MS. WALTER: Object to form.                            10     A. No.
    11      MS. KREITER: Q Or was it presenting to them what       11     Q. Was there anyone else from Mutual that you
    12 you had already done at that point?                         12 spoke with in conjunction with your analysis besides
    13      MS. WALTER: Same objection.                            13 Mr. Gennarelli and Mr. Mayle?
    14      THE WITNESS: A I was presenting what I had done        14     A. I believe we had a virtual meeting, Zoom or
    15 up to that point. I had the call to request additional      15 Teams, and there were other parties. I don't recall the
    16 data.                                                       16 names of those on the call.
    17      MS. KREITER: Q What additional data did you            17            I believe Mark McCarroll attended. Of
    18 request?                                                    18 course Courtney. There maybe another person on the call.
    19     A. I was curious about the peer branches at Mutual      19 I don't remember who it was.
    20 of Omaha Mortgage that had remained in operation            20     Q. Were you aware at the time of your discussions
    21 following the closure of the Daytona and Tampa branches.    21 with Mr. Gennarelli and Mr. Mayle they had prepared a
    22     Q. What were you curious about?                         22 lost profit analysis or did you find that out later?
    23     A. The loan volume.                                     23      MS. WALTER: Object to form.
    24     Q. What specifically?                                   24      THE WITNESS: A I was aware.

                                                                                                         6 (Pages 18 - 21)
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                                                                   Page 22                                                         Page 24
     1      MS. KREITER: Q Did you ask them why it was that                   1 estimates set forth in Gennarelli Exhibit No. 7 is
     2 you weren't analyzing the prior analysis Mutual had                    2 accurate?
     3 performed?                                                             3      MS. WALTER: Asked and answered.
     4      MS. WALTER: Object to form.                                       4      THE WITNESS: A No.
     5      THE WITNESS: A No.                                                5      MS. KREITER: Q Did you speak with Jeff
     6      MS. KREITER: Q Did you wonder why am I not                        6 Gennarelli or Bernie Mayle about Deposition Exhibit
     7 looking at the 4.4 million analysis Mutual has already                 7 Gennarelli 7?
     8 presented in the case?                                                 8      MS. WALTER: Asked and answered.
     9     A. Did I wonder. Can you repeat the question?                      9      MS. KREITER: It's not. She said she talked with
    10              (Record read as requested)                               10 them about documents.
    11     A. I'm certainly aware that this number had been                  11     Q. Is this one of the documents that you spoke
    12 presented. I didn't analyze that number or spend time                 12 with Mr. Gennarelli and Mr. Mayle about?
    13 thinking about that number in particular. I did my own                13      THE WITNESS: A This is what I was referring to,
    14 independent analysis.                                                 14 yes.
    15     Q. If Mutual of Omaha had already presented the                   15     Q. Tell me about that conversation?
    16 $4.4 million demand with respect to the Category 2 branch             16     A. As I previously mentioned, it was a general
    17 damages, why was there a need to do a new analysis?                   17 conversation telling me what this document is. I believe
    18      MS. WALTER: Object to form.                                      18 this is the document used to get to the 4.4 million.
    19      THE WITNESS: A I don't know.                                     19            I don't see that total here though. But I
    20      MS. KREITER: Q Did you ask why, did you ask that                 20 believe that would be the sum of the two values here.
    21 question to Mutual, why am I re-doing the analysis of                 21     Q. Okay. So they were presenting this to you to
    22 Mr. Gennarelli and Mr. Mayle?                                         22 tell you this is the prior model that Mutual put forth,
    23      MS. WALTER: Object to form, mischaracterizes                     23 something of that ilk?
    24 testimony.                                                            24      MS. WALTER: Objection.
                                                                   Page 23                                                         Page 25
     1      THE WITNESS: A No, I did not ask that question.                   1       THE WITNESS: A General statements of that,
     2      MS. KREITER: Q Do you agree that the work that                    2 that's correct.
     3 you did -- strike that.                                                3       MS. KREITER: Q The analysis that you did, does
     4             Did you attempt to determine whether the                   4 it rely upon the same, any of the same data that was
     5 estimate by Mr. Gennarelli is accurate?                                5 relied upon in Deposition Exhibit Gennarelli 7?
     6      MS. WALTER: Object to form.                                       6       MS. WALTER: Object to form.
     7      THE WITNESS: A No.                                                7       MS. KREITER: If you know.
     8      MS. KREITER: Q You had no discussions with                        8       THE WITNESS: A I didn't analyze this in depth.
     9 Mr. Gennarelli or Mr. Mayle about the prior analysis that              9 But just looking at the title of volume of loans funded,
    10 they performed, correct?                                              10 that is something I certainly considered from a different
    11    A. That's not correct.                                             11 data source as fully cited in my expert report.
    12    Q. What discussions did you have about the prior                   12       MS. KREITER: Q Do you know what period of time
    13 work that was performed and the demand for 4.4 million                13 damages were extrapolated out for with respect to -- this
    14 with Mr. Gennarelli and Mr. Mayle?                                    14 Deposition Exhibit Gennarelli 7, for ease of reference I
    15    A. They explained the documents to me in a general                 15 will call it the Gennarelli Category 2 model.
    16 sense.                                                                16            What period of time did Mr. Gennarelli
    17    Q. What documents?                                                 17 use?
    18    A. The documents underlying their interrogatory                    18       MS. WALTER: Object to form.
    19 response.                                                             19       THE WITNESS: A I would need to study this, but.
    20      MS. KREITER: Show you what we previously marked at               20       MS. KREITER: Q You don't know right now?
    21 a deposition. Gennarelli Exhibit No. 7.                               21     A. I see profit for 42 months. And profit for
    22    Q. Have you seen this document before?                             22 18 months.
    23    A. Yes, I have.                                                    23     Q. Do you know?
    24    Q. Did you attempt to determine whether the                        24     A. Not just by sitting here. I would want to dig

                                                                                                                   7 (Pages 22 - 25)
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                                                          Page 26                                                       Page 28
     1 into the underlying data to give you the exact correct    1      THE WITNESS: A I think I may have had, yeah, a
     2 answer.                                                   2 general understanding, but not the exact numbers in my
     3     Q. Did you have any discussions with                  3 mind.
     4 Mr. Gennarelli or Mr. Mayle about the term used with      4      MS. KREITER: Q Does it concern you that Mutual
     5 respect to the Gennarelli model?                          5 previously presented damages of 4.4 million and now your
     6      MS. WALTER: Object to form.                          6 report is asserting damages of 28 million?
     7      THE WITNESS: A Can you clarify what you mean by 7           MS. WALTER: Objection.
     8 term.                                                     8      THE WITNESS: A No.
     9      MS. KREITER: Q Sure. The amount of time over         9      MS. KREITER: Q Do you agree that's a big delta?
    10 which damages are projected?                             10    A. Well I don't know what you mean by a big delta.
    11     A. You're referring to the $4.4 million figure?      11    Q. The difference between -- do you agree there's
    12     Q. Correct. Let's define for purposes of this        12 a meaningful difference between 4.4 million and 28
    13 deposition. So when I am referring to the Category 2     13 million?
    14 damages previously presented by Mutual, in which Mutual 14       MS. WALTER: Object to form.
    15 seeks approximately $4.4 million in damages, for ease of 15      THE WITNESS: A They are different numbers.
    16 reference I'm going to refer to that as the Gennarelli   16      MS. KREITER: Q Sure.
    17 Model for this deposition. It's the model that's         17    A. Certainly.
    18 reflected in Gennarelli Deposition Exhibit 7.            18    Q. Your demand is about 4 to 5 times bigger than
    19 Understood?                                              19 the prior demand, correct?
    20     A. Okay.                                             20      MS. WALTER: Object to form. She never said it was
    21     Q. With respect to the Gennarelli Model of           21 a demand.
    22 damages. Did you have any discussions with               22      MS. KREITER: Q Your lost profit estimates of 28
    23 Mr. Gennarelli or Mr. Mayle about the duration of time   23 million is about 4 to 5 times bigger than Mutual's prior
    24 over which they calculated lost profits in order to come 24 demand, correct?
                                                          Page 27                                                       Page 29
     1 to the $4.4 million demand?                                   1      MS. WALTER: Object to form.
     2     A. I believe it's 18 months. But I believe that           2      THE WITNESS: A My damages calculation is based
     3 was discussed generally and I recall reading that in the      3 on a damages analysis I prepared. And that yields a
     4 documents I reviewed.                                         4 figure that is larger than what was presented earlier.
     5     Q. Why didn't you use 18 months?                          5      MS. KREITER: Q Sure.
     6     A. That's not what my model is measuring.                 6     A. Yes.
     7     Q. Is it the case you're retained to independently        7     Q. Do you agree it's materially larger?
     8 calculate damages, not to support the Gennarelli Model?       8      MS. WALTER: Object to form.
     9     A. Correct.                                               9      THE WITNESS: A Materially is a difficult thing
    10     Q. The Gennarelli Model concludes that Mutual has        10 for me to agree to. Because materially is subjective.
    11 lost profits associated with the Tampa branch are            11 We can talk about if it's larger, yes.
    12 2.7 million. And that the damages -- and some change.        12      MS. KREITER: Q Is it your testimony that a
    13 And the damages for the Daytona branch are 1.7 million.      13 demand that's more than four times larger, $24 million
    14 Are you aware of that -- I will note for the record the      14 larger, that's not a material difference to you?
    15 witness is reviewing Gennarelli Deposition Exhibit No. 7.    15      MS. WALTER: Object to form.
    16           Were you aware of that without looking at          16      THE WITNESS: A I wouldn't use the word material.
    17 the exhibit?                                                 17      MS. KREITER: Q How would you describe the delta
    18     A. The exact breakdown of the 4.4 million, I was         18 between those numbers?
    19 not aware. But from memory.                                  19      MS. WALTER: Object to form.
    20     Q. Okay. But in general you had a sense that             20      THE WITNESS: A I would use numbers to describe
    21 there was approximately 2.7 million, not the exact           21 it. $24 million larger.
    22 number, associated with Daytona, and 1.7 with the other      22      MS. KREITER: Q Did it concern you at all that
    23 branch?                                                      23 Mr. Gennarelli and Mr. Mayle had put forth a damages
    24      MS. WALTER: Object to form.                             24 analysis of 4.4 million and you went off on your own and

                                                                                                         8 (Pages 26 - 29)
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                                                        Page 30                                                      Page 32
     1 did an analysis but it's larger than theirs?              1 scope of the report is and how I approach the problem.
     2      MS. WALTER: Object to form. Please watch your        2 How it's used is a legal question.
     3 tone, Maria.                                              3      MS. KREITER: Q It's completely independent of
     4      THE WITNESS: Can you repeat the question.            4 the prior model, correct?
     5           (Record read as requested)                      5     A. My model is, yes.
     6      THE WITNESS: A It does not concern me.               6     Q. You state in your report you reserve the right
     7      MS. KREITER: Q Did you have any discussions with 7 to amend the report to reflect new information that
     8 anyone at Mutual about why there was a multimillion       8 becomes available, including in discovery or from court
     9 difference between the Gennarelli Model and your          9 rulings, correct?
    10 $28 million estimate?                                    10     A. Yes.
    11     A. No.                                               11     Q. Are you continuing to work on the engagement
    12     Q. In your report you indicate I calculate the       12 right now other than attendance at the deposition?
    13 present value of lost profits at the Mutual of Omaha     13     A. No.
    14 Tampa and Daytona branches using standard valuation      14     Q. Do you have any outstanding requests for
    15 methods.                                                 15 information to Mutual at this time?
    16           If Mutual had hired you back in the Winter     16     A. No.
    17 of '22 or Spring of '23, could you have done the same    17     Q. The report indicates that you were to calculate
    18 analysis at that time?                                   18 lost profits resulting from closure of the branches and
    19      MS. WALTER: Object to form.                         19 express the amount in present value terms.
    20      THE WITNESS: A The damages would be slightly        20           What assumptions were you instructed to
    21 different because I'm using data as of I believe May and 21 make with respect to that damages?
    22 June. So I wouldn't have that data available to me at    22      MS. WALTER: Object to form, it assumes facts not
    23 that time. But in terms of the framework, the way I      23 in evidence.
    24 would approach the problem would be the same.            24      MS. KREITER: Calculation.
                                                        Page 31                                                      Page 33
     1     MS. KREITER: Q Okay. You could perform the same 1           THE WITNESS: A I reviewed the complaint. And
     2 analysis, you would just have to use the data available  2 assumption I rely on is that closure of the branches is
     3 at whatever time you were hired, correct?                3 direct result of defendants' action. That's an implicit
     4    A. Correct.                                           4 assumption.
     5    Q. Did Mutual say why it chose to hire you as a       5      MS. KREITER: Q Did you do anything to vet the
     6 rebuttal expert rather than as its opening expert?       6 reasonableness of the assumption that wrongdoing by
     7     MS. WALTER: Object to form.                          7 Waterstone caused the branches to close?
     8     THE WITNESS: A No.                                   8      THE WITNESS: Can you repeat that question.
     9     MS. KREITER: Q Did Mr. Gennarelli, Mr. Mayle or 9                    (Record read as requested)
    10 anyone at Mutual ever have discussions with you about   10      THE WITNESS: A Yes, I thought about the issues.
    11 concerns related to the Gennarelli Model?               11 The actions. And whether or not they were reasonable.
    12     MS. WALTER: Object to form.                         12      MS. KREITER: Q So to exhaust this. I heard you
    13     MS. KREITER: Strike that, let me rephrase.          13 testify that the -- you thought about the issues and the
    14    Q. Did Mr. Gennarelli, Mr. Mayle or anyone at        14 actions to see if you felt they were reasonable.
    15 Mutual ever express concern about the viability of the  15            What issues did you think about?
    16 Gennarelli Model to you?                                16     A. I'm thinking about the employees that left, the
    17     MS. WALTER: Objection.                              17 timing, how many employees left alongside the three main
    18     THE WITNESS: A Not that I recall, no.               18 employees listed in the complaint. And the timing of
    19     MS. KREITER: Q Is the intent of your report to      19 their departure.
    20 replace the damages model that Mr. Gennarelli and       20     Q. These are thoughts that you had yourself.
    21 Mr. Mayle did?                                          21            Did you speak about these thoughts with
    22     MS. WALTER: Object to form.                         22 Mutual, did you try to vet the facts of the case with
    23     THE WITNESS: A My report is an independent          23 anyone at Mutual?
    24 analysis. And I am very clear in my report what the     24      MS. WALTER: Object to form.

                                                                                                      9 (Pages 30 - 33)
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                                                          Page 42                                                          Page 44
     1    A. These I believe are the loan data that                  1 back.
     2 defendant's expert relied on.                                 2            The goal of that exhibit is to express the
     3    Q. With respect to the Category 1 damages,                 3 cash flows in present value terms. So I find that giving
     4 correct?                                                      4 a 10-year window has served that functional purpose.
     5    A. I believe so, that's my understanding, yes.             5 There's no, you know, reason for using 10 years
     6    Q. So if you were not analyzing Category 1                 6 specifically as a cutoff point in terms of the branch
     7 damages, why did you list the damages as ones that you        7 closures analysis.
     8 considered?                                                   8    Q. So if I'm understanding your testimony, it's a
     9    A. Do you mean these documents?                            9 standard with respect to this particular form of
    10    Q. Yes, the documents that are listed on page four        10 modeling, it's not a number selected specific to these
    11 and going onto page five. I just again, my understanding     11 particular branches, is that accurate?
    12 was that you didn't do any work with respect to              12    A. That's correct.
    13 Category 1. Yet I see that you've listed a bunch of          13    Q. You would apply 10 years if you had another
    14 documents related to the Category 1 damages as ones that     14 case -- strike that. Let me ask it this way.
    15 you have considered.                                         15            Have you applied this same methodology in
    16           Why are these documents listed in your             16 other cases?
    17 reports as having been considered?                           17    A. Yes.
    18    A. They were provided to me by counsel. I briefly         18    Q. Have you used a 10-year duration in all of
    19 reviewed them. And decided that they weren't within the      19 those cases?
    20 scope of my report and what I was asked to calculate.        20    A. I don't believe in all of the cases. I might
    21    Q. Okay. So these documents listed under                  21 look at seven years.
    22 defendant expert production, they have nothing to do with    22            If I have, if I need to model changes that
    23 the $28 million that you ultimately estimate, correct?       23 I know of that are going to happen at some point in the
    24    A. Correct.                                               24 time horizon, I might go out a few more years. I have
                                                          Page 43                                                          Page 45
     1      Q. With respect to your $28 million estimate,            1 the flexibility to model the DCF, to set up the DCF
     2 you're assuming that the branches would have stayed open      2 according to the facts and the issues I'm looking at.
     3 till 2031, is that correct?                                   3    Q. Did you consider using an 18 months duration
     4      A. Part of the analysis runs through 2031, yes.          4 like Mr. Gennarelli did in his model?
     5      Q. Why did you select 2031?                              5    A. No.
     6      A. That is a ten-year window, that I have included       6    Q. Why not?
     7 in my discounted cash flow analysis.                          7    A. 18 months is something Mr. Gennarelli chose.
     8      Q. Why did you select a 10-year window?                  8 My model does not consider that time frame. I don't
     9      A. To present my model annually through ten years.       9 understand fully why 18 months is selected.
    10      Q. Why didn't you consider two years, 5 years, a        10    Q. Did you consider a 12-month duration consistent
    11 different number --                                          11 with the 12-month non solicit?
    12       MS. WALTER: Object to form.                            12      MS. WALTER: Object to form.
    13       MS. KREITER: -- of years?                              13      THE WITNESS: A No.
    14       THE WITNESS: A My model is set up to calculate         14      MS. KREITER: Q Why not?
    15 lost profits in each year through 2031 and beyond. So        15    A. That wouldn't apply here.
    16 the model is clear I believe in Exhibit 7 and 8 what         16    Q. Why not?
    17 those values are.                                            17    A. Because I'm measuring lost profits in the
    18       MS. KREITER: Q So my question is how did you           18 branch, not to an individual employee.
    19 land on ten years. You could have said 30 years. I'm         19    Q. Do you understand that the branch managers had
    20 trying to understand why is it 10.                           20 a 12-month non solicit?
    21      A. It's standard in DCF modeling to use 10 years.       21      MS. WALTER: Object to form.
    22 Gives us a nice view of what the cash flows look like, if    22      THE WITNESS: A Yes.
    23 anything is changing over time. And how the impact of        23      MS. KREITER: Q What certainty do you have that
    24 the discount rate affects the numbers, cash flow coming      24 any of the employees would have stayed beyond 12 months

                                                                                                           12 (Pages 42 - 45)
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                                                           Page 82                                                         Page 84
     1 line, which is the MBA total mortgage originations.            1 forecasting.
     2           We do see as no surprise that in 2020 and            2    Q. So did you make a decision that 2020 and 2021
     3 2021, the gray line is higher, looks like on a quarterly       3 should be carved out because it was not representative
     4 basis at about 1.2. And by the time we get to 2022, I'd        4 and instead reflected an anomalous period in the
     5 say about 60 percent on a quarterly basis what it had          5 industry?
     6 been before. So.                                               6    A. I recognize that that is a, the pandemic period
     7    Q. Why do you believe that loan volume in 2020              7 and I don't base my forecasts on that.
     8 when you can see in your chart in Exhibit 4 for example,       8    Q. Do you think it would be inappropriate to base
     9 that peaks gets to almost, gets over 70 million for the        9 forecasts on that anomalous period of 2020 to 2021?
    10 MBA, why is that time period representative of future         10    A. It depends on the application.
    11 time periods, if you believe that it is?                      11    Q. Do you know whether Mr. Gennarelli factored in
    12    A. I don't believe that that would necessarily be          12 that 2020 to 2021 period in his analysis?
    13 representative of future time periods on its own.             13    A. I don't recall exactly. You can look back at
    14    Q. Explain that a little bit more, please.                 14 the exhibit you handed me earlier and see. But again, I
    15    A. Sure. So when an economist does a forecasting           15 didn't look closely at the underlying assumptions of that
    16 exercise, we want to look at as much historical data as       16 analysis.
    17 we have here. 2019 to 2022. And consider any other            17    Q. Are there any, is there any modeling that
    18 factors that could influence the loan volume.                 18 you're aware of that is recognized in the industry that
    19           What we can do as forecasters is take               19 would permit the inclusion of anomalous data such as 2020
    20 those periods out of consideration. And look at periods       20 and 2021?
    21 that are not affected by whatever we think is going on.       21    A. It depends. I have seen econometric models
    22 Could be related to the pandemic, interest rates,             22 developed that do include periods of time that might
    23 whatever is sort of going on we know that would affect        23 deviate from the average, which is how I'm defining an
    24 numbers.                                                      24 anomaly.
                                                           Page 83                                                         Page 85
     1           So what I can do is I can prepare my                 1    Q. What are those models?
     2 forecasts without letting my forecast be tainted by some       2    A. Think of an example. It would be you can
     3 of these other affects that no longer are affecting the        3 imagine a regression analysis. Trying to think of a
     4 numbers.                                                       4 simple example. Where you might have quite a bit of rich
     5     Q. Did you do anything to carve out the period of          5 data that's useful information to what we are trying to
     6 2020, 2021 where we have these anomalous peaks?                6 understand. Maybe it's a projection level. We
     7     A. Yes.                                                    7 understand that there's a time period in the data that
     8     Q. What did you do?                                        8 may not be representative of the norm.
     9     A. Those peaks are not included in my forecast.            9           There's several things we can do. In
    10     Q. What is the time period you took out?                  10 econometric terms, call it adding a dummy variable to the
    11     A. I didn't take anything out per se.                     11 data. So we can remove the affects of it while still
    12           My forecasts are based on the last months           12 keeping the data and creating a model around it. So
    13 of available data, which is 2022 Spring when we are           13 there's many ways that economists would approach a
    14 looking at quarterly data, I believe it's Q1, 2022.           14 problem like that.
    15           When we are looking at the monthly data, I          15           When we are talking about you can imagine
    16 believe it's the last full month of revenue, which would      16 securities fraud, where we have disclosure of new
    17 be I believe April. Have to look back at my report to         17 information. We might not want to include the stock
    18 give you an exact date.                                       18 price reaction on that day, so there's ways to remove
    19     Q. Now I'm confused. I understood your testimony          19 that from the analysis.
    20 to be that you did factor in the 2020 and 2021 time           20    Q. Do you know whether Mr. Gennarelli in his model
    21 period. And the date associated with that. Now I am           21 was performing the type of regression analysis for doing
    22 hearing maybe you didn't. Which is it?                        22 any of the steps you talk about that are industry
    23     A. I consider all the data. Based on my analysis          23 recognized where anomalous periods are included in the
    24 of the data, I decide how I'm going to construct my           24 database?

                                                                                                          22 (Pages 82 - 85)
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                                                            Page 98                                                       Page 100
      1 So one-year period.                                            1     A. So do you see that row present value of free
      2     A. Through end of 2023?                                    2 cash flow?
      3     Q. I guess I'm looking at can you calibrate it by          3     Q. I do.
      4 months. So for example could you tell me what would the        4     A. The sum of .46, .87 gets you the present value
      5 damages be for the period of Daytona leaves in April, so       5 of free cash flows to the end of 2023.
      6 May of '22 to May of '23.                                      6     Q. So you would add the -- let's just do that.
      7           Are you able to tell me that?                        7      MS. WALTER: For the record, Miss Kreiter is using
      8     A. I can give you the numbers through the end of           8 her phone to calculate figures.
      9 year from my exhibits. But in terms of using this to           9      MS. KREITER: I'm an attorney, I am using my
     10 calculate any more precise numbers than what's presented      10 calculator. I'm an attorney not -- so .46 plus .87 is
     11 here in Exhibit 7A through B, I would need time to do         11 1.33. Correct?
     12 that.                                                         12      MS. WALTER: You need a calculator?
     13     Q. So is your 7A and B, let's go there. 7A.               13      THE WITNESS: A Yeah, I prefer to have one. To
     14           For example, are you able to tell me                14 follow along if we are going to keep going with
     15 looking at 7A what the damages would be with a one year       15 calculations. Also this doesn't take into account any
     16 period of time?                                               16 rounding. To be clear. .46 plus .87 is 1.33.
     17           I mean I heard you just say maybe I can't           17      MS. KREITER: Q So this was in conjunction with
     18 do it May to May, but I can do it May of '22 through the      18 trying to understand what the damages would be not using
     19 end of '23.                                                   19 the full duration, but rather to the end of '23.
     20           So is that accurate?                                20           What would you do next?
     21     A. So yeah, the data in the DCF exhibits which are        21     A. That's it.
     22 7A through 8B are done through the end of each year. So       22     Q. So the damages are 1.33 million?
     23 I can't get as precise as you're asking me to.                23     A. That's correct. Just through the end of 2023,
     24           The model can if we really had the time             24 the present value for the Daytona branch. We haven't
                                                            Page 99                                                       Page 101
      1 and I could sit down and do it right and check it and all       1 done the Tampa branch.
      2 of that. That's certainly possible. But from this               2    Q. Let's go back and do that, please.
      3 exhibit, we can give you number through say the end of          3           Would you again turning to Exhibit 7A to
      4 2023.                                                           4 calculate the damages under your model, but with a
      5     Q. You can tell me just to be clear, you could              5 duration ending in December 31, 2023.
      6 tell me based on 7A of your report the damages estimate         6           You would add the present value .38 for
      7 if you used the different duration not out to 2031, but         7 '22 and the present value .95 for '23?
      8 rather through the duration of December 31, 2023.               8    A. Yes.
      9           Is that accurate?                                     9    Q. What does that come out to?
     10     A. That's right.                                           10    A. 1.33.
     11     Q. What is the lost profits associated with the            11    Q. Are they for both of the branches it's
     12 Daytona branch if you used that duration of, that              12 1.33 million?
     13 duration ending at December 31, 2023?                          13    A. For Tampa, the two together I believe is 2.66,
     14     A. 2023? Footnote 35 describes how to do this.             14 adding up the four figures we just went over.
     15           And so the way that this could be done               15    Q. So Tampa is 1.33 and Daytona is --
     16 through 2023 is that the row called present value, PV,         16    A. 1.33.
     17 free cash flows to the firm?                                   17    Q. Both of them are the same?
     18     Q. I see it.                                               18    A. Uh-huh, coincidentally, yes.
     19     A. Gives you discounted value of the profit figure         19    Q. So 2.66 million total?
     20 after taxes. So you can add the .46 and the .87.               20    A. Yes.
     21     Q. Now you lost me. I'm looking at 7A.                     21    Q. It's roughly 2 million less than in the
     22     A. You asked for Daytona so you need to turn to            22 Gennarelli Model, correct?
     23 Exhibit 7B.                                                    23    A. I don't remember what his exact number was, 4.4
     24     Q. Continue.                                               24 perhaps.

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                                                         Page 102                                                      Page 104
      1      Q. 4.4 and change?                                    1    Q. Is there a way you can do it with something
      2      A. So yeah, about 1.7.                                2 less than precision but maybe -- strike that.
      3      Q. Difference between your model with the same        3           How would you do it if you were to go
      4 duration and his model, correct?                           4 about changing the duration to one year?
      5      A. I don't know if it's the same duration. If         5    A. I would look at my spread sheet.
      6 it's covering the same time frame. I don't recall.         6    Q. Bates number 14778.
      7            I didn't really dig into his model like I       7    A. And do a calculation over the time period of
      8 said.                                                      8 interest.
      9      Q. If you assume his model also goes through the      9    Q. Are you able to tell me specifically what in
     10 end of '23, then it's the same duration but you have got  10 14778 you would show me, the tab or show me what you
     11 a delta between the two where you're saying the total     11 would look to?
     12 would be 2.66 and he's saying 4.4 and change?             12    A. It's the tab we were just looking at.
     13       MS. WALTER: Object to form.                         13    Q. Why don't you come back and point it out to me.
     14       THE WITNESS: A But the difference between 4.4       14    A. MON-loan volume.
     15 and 2.66 is yes, about 1.74.                              15    Q. Is this a matter of changing a number or is it
     16       MS. KREITER: Q Do you believe that 1.74 million 16 no, this would take me ten hours?
     17 is a material difference?                                 17    A. It would take time and I need to have it
     18       MS. WALTER: Object to form.                         18 audited.
     19       THE WITNESS: A Again I would describe this in       19    Q. Suffice to say it's going to be less than 2.6?
     20 terms of dollars, not whether or not it's material.       20      MS. WALTER: Object to form.
     21       MS. KREITER: Q What number would make you say 21            THE WITNESS: A If you're looking at a time
     22 this is material, maybe not 1.7, is there a number where  22 period within the time period we just went over, it will
     23 you would say look, I agree that's a material difference? 23 yes, it will be less because we do have volume in all
     24      A. Usually not how I would describe numbers to be    24 months.
                                                         Page 103                                                      Page 105
      1 completely fair. If I have a number in front of me, I        1      MS. KREITER: You indicated that you read the
      2 describe it in terms of either in dollar values or you       2 deposition transcript for Jeff Gennarelli.
      3 can use a multiple. 80 percent more or whatever the          3     Q. Did you read any other deposition transcripts?
      4 number is.                                                   4     A. I do not believe so.
      5     Q. So let's look at what is the percentage               5     Q. Are you aware of which Mutual representatives
      6 difference then between those two numbers.                   6 have been deposed?
      7     A. His is 4.4.                                           7     A. No.
      8     Q. Correct.                                              8     Q. Did you read the deposition transcript of Brian
      9     A. Looks like about 40 percent, the difference is        9 Tomalak or Kiley King?
     10 about 40 percent.                                           10     A. No.
     11     Q. You're not willing to say that's material or         11     Q. Did you ask to see any additional deposition
     12 not, that's not how you would characterize the numbers?     12 transcripts?
     13     A. I'm not willing to say whether or not it's           13     A. No.
     14 material, correct.                                          14     Q. Do you know who Brian Tomalak and Kiley King
     15     Q. You think it's nominal?                              15 are?
     16      MS. WALTER: Object to form.                            16     A. No.
     17      THE WITNESS: A Again, I'm not willing to               17     Q. Do you know who Chris Layden is?
     18 describe it in those terms.                                 18     A. No.
     19      MS. KREITER: Q Is there a way you could use your       19     Q. We talked about whether the math that you
     20 Exhibit 7A and 7B to come up with a one year number?        20 ultimately used to project the estimates in the peer
     21            So to be clear, that same methodology you        21 model included the 2020 and 2021 time period. I think
     22 used, I want to shorten the term from 18 months to 12.      22 the answer is no, you maybe considered it but you
     23 Is there a way you can do that?                             23 ultimately did the math based on the April '22 period.
     24     A. Not with precision, no.                              24           What about the MBA methodology, does that

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                                                         Page 122                                                     Page 124
      1    Q. What is it?                                          1     Q. When you say very different, in what ways are
      2    A. It's an e-mail that I believe was produced in        2 the analyses very different?
      3 the Gennarelli deposition.                                 3     A. I'm using a forecasting model based off of peer
      4    Q. The information contained in Gennarelli              4 branches as well as off of national MBA data. I don't
      5 Deposition Exhibit 12 and specifically the information     5 believe that was relied upon in the other model.
      6 related to the pretax earnings and the year-to-date        6     Q. Any other differences?
      7 earnings associated with the Forward Division, did you     7     A. I believe I'm -- look back.
      8 factor in any of this data into your analysis?             8            I believe this estimate is conducted for
      9    A. This appears to be corporate level information.      9 an 18-month window.
     10 And oh, yeah. They reference that two good groups left    10     Q. Which?
     11 over the past 45 days, Tampa and Daytona.                 11     A. The 4.4 million. Just looking back at
     12            I believe it is corporate level                12 Exhibit 7 here.
     13 information with reference to the two branches as being a 13     Q. So the Gennarelli Model is different from yours
     14 negative for corporate. Other than that, it didn't        14 in that it used, finish your thought.
     15 factor into my analysis, no.                              15     A. This is based off of an 18-month window,
     16    Q. I had directed you specifically to the Forward      16 July 2022 to December 31, 2022.
     17 Division earnings information.                            17     Q. Is it accurate to say your analysis has nothing
     18            Did any of the information in Exhibit 12       18 to do with the Gennarelli analysis, correct?
     19 factor into your analysis in any way?                     19     A. That's correct. My analysis is an independent
     20    A. So my review here, I believe all of this is         20 analysis.
     21 corporate level information. Exception of the two         21     Q. You indicated that you were retained sometime
     22 sentences on Tampa and Daytona. So with the exception of 22 in the June time frame.
     23 that, I did not factor into my analysis.                  23            When did you actually start doing work on
     24    Q. Are you using corporate level information for       24 the matter?
                                                         Page 123                                                     Page 125
      1 the weighted average cost of capital but not corporate 1      A. Within a few days.
      2 level information for other purposes?                   2      MS. KREITER: I could use a two-minute break.
      3     A. I'm using information about the capital          3            (Lunch recess)
      4 structure.                                              4      MS. KREITER: Q Did you write the report for this
      5     Q. At the corporate level though?                   5 Exhibit 30 yourself or did others in your office assist
      6     A. Yes.                                             6 with authoring the report?
      7     Q. But for purposes of projecting the volume, you 7        THE WITNESS: A I wrote the report and others
      8 did not use any information relative to the corporate   8 reviewed it and added at my direction.
      9 level performance?                                      9     Q. Who are the others?
     10     A. That's correct.                                 10     A. Jeremy Marmer.
     11     Q. Why is it that you look at the branch level for 11     Q. Spell?
     12 one and corporate level for another purpose?           12     A. M-A-R-M-E-R, and Gabriel Ratliff,
     13     A. The projections are based off of branch level 13 R-A-T-L-I-F-F.
     14 projections and the free cash flow estimated from the 14      Q. Start with Mr. Marmer. Is Mr. Marmer junior to
     15 lost profits model is at the branch level as well.     15 you or senior to you?
     16     Q. Are you able to explain the difference between 16      A. I suppose he's junior to me.
     17 the 4.4 million that Gennarelli presented and the 28 17       Q. What about Mr. Ratliff?
     18 million that you are estimating?                       18     A. Yes.
     19     A. Can you repeat the question, please.            19     Q. Yes he's junior to you?
     20     Q. Are you able to explain the difference between 20      A. Yes, in title.
     21 Gennarelli's model which resulted in a demand of       21     Q. How much time approximately did Mr. Ratliff put
     22 4.4 million, and your estimate at 28 million?          22 in in the report?
     23     A. They are very different as far as I can see. I 23      A. I don't know, I need to look back at the
     24 don't know what --                                     24 invoices. So I'd say my estimate is somewhere around

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                                                          Page 134                                                      Page 136
      1     A. I don't know. I think it might be Exhibit 7 we      1      MS. WALTER: Object to form.
      2 went over today.                                           2      MS. KREITER: Let the record reflect the witness is
      3     Q. The Gennarelli Model?                               3 paging through the Oscher Report.
      4     A. Yeah, I will continue reading here.                 4      THE WITNESS: A So my report rebuts damages
      5           Gives a lot of arguments for not                 5 Category 2 of the Oscher Report.
      6 calculating damages, including this next paragraph he's    6      MS. KREITER: My question, I want to make sure
      7 talking about the non solicit agreement.                   7 you're answering my question and not something else.
      8     Q. Sure. Does he say anywhere that no valuation        8    Q. My question was where is the language in the
      9 is possible regarding the closed branch offices?           9 Oscher Report that your analysis rebuts?
     10     A. He says the Gennarelli Model is unsupported.       10      MS. WALTER: Object to form, she's answering that.
     11 And cannot be verified and tested.                        11      THE WITNESS: A Yes. My report rebuts damages
     12     Q. There's a difference in my mind between the        12 Category 2, the closing of the branch offices in Tampa
     13 Gennarelli Model is insufficient and nobody could ever do 13 and Daytona. Implied in the Oscher Report is that there
     14 this.                                                     14 are no damages here that he presents.
     15       MS. WALTER: Object to form.                         15      MS. KREITER: Q Does who present?
     16       THE WITNESS: A It's implied in this section. He     16    A. He does not present damages.
     17 doesn't say this verbatim, which is why I don't have it   17    Q. Mr. Oscher doesn't present damages, correct?
     18 in quotes in my report.                                   18    A. He's implying, he gives a whole host of reasons
     19           But he says that the data cannot be             19 for why calculating damages would be wrong.
     20 verified or tested. He gives a lot of reasons for not     20    Q. Where are the words you're talking about
     21 calculating damages, including that suggesting that the   21 because he's not talking about in my mind an
     22 volumes attributable to the managers shouldn't be         22 impossibility in general, he's talking about the damages
     23 considered, that there's non solicit periods.             23 presented by Gennarelli and he's commenting that they are
     24       MS. KREITER: Q Do you understand that Mr. Oscher 24 unsupported.
                                                          Page 135                                                      Page 137
      1 analyzed the Gennarelli damages model?                        1           Are there words in the Oscher Report in
      2    A. Yes.                                                    2 which he says nobody can ever possibly calculate damages?
      3    Q. You did not analyze the Gennarelli damages              3      MS. WALTER: Object to form.
      4 model so how is your opinion -- let me start a different      4      MS. KREITER: Q For the branch closing?
      5 way.                                                          5      THE WITNESS: A He ends his section to damages --
      6           In what manner does your report rebut               6    Q. Where are you?
      7 portions of the Oscher Report, which is focused on the        7    A. Page 12. Just by comparing forecast.
      8 Gennarelli Model?                                             8    Q. Specifically where are you?
      9      MS. WALTER: Object to form.                              9    A. Page 12, the chart. He just kind of ends the
     10      THE WITNESS: A It is answering, it's answering          10 section pointing out that the forecast is -- he's
     11 the same question that Oscher is focused on in his           11 implying it's incorrect because look, it's a departure
     12 report.                                                      12 from this MBA forecast.
     13      MS. KREITER: Q What question is that, I'm not           13           So my report directly rebuts this by using
     14 clear.                                                       14 the same data even to present a forecast for Mutual
     15    A. The evaluation of these two branches.                  15 that's based on the MBA data.
     16    Q. But Mr. Oscher doesn't try to value the                16    Q. Is there any other manner in which you believe
     17 branches, he simply says the Gennarelli Model is             17 that your report rebuts statements by Mr. Oscher besides
     18 insufficient?                                                18 the paragraph that you've identified and the chart on
     19    A. Uh-huh.                                                19 page 12 where Mr. Oscher is talking about the MBA data?
     20    Q. Agreed?                                                20    A. Yeah. He makes several statements for example
     21    A. Well he's talking about the, he says a lot of          21 on page ten.
     22 things.                                                      22    Q. Where are you?
     23    Q. So tell me what language in the Oscher Report          23    A. The last paragraph. Mutual's inclusion of
     24 do you believe that your report rebuts?                      24 volumes of loans attributable to the branch managers is

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                                                         Page 138                                                     Page 140
      1 without foundation, et cetera.                               1 which is why I am taking a moment to do so. So I can
      2     Q. Stop there. Mutual's inclusion of volumes of          2 answer your question.
      3 loans attributable to the three branch managers Dwayne       3     Q. Footnote 10 relates to a portion of the report
      4 Hutto, Chris Smith and Christopher Wolf, collectively the    4 prior to the subheading that kicks off discussion of
      5 branch managers, who left Mutual to work for Waterstone,     5 damage Category 2.
      6 is without foundation as Mr. Gennarelli acknowledged         6           Do you see that?
      7 there's nothing unlawful about Waterstone recruiting         7     A. Yes. It references damages Category 2
      8 branch managers.                                             8 methodology. Seems like he's using it for 1 but not
      9           In what manner does your report rebut that         9 for 2. Again there's a lot of evidence where he gives a
     10 paragraph?                                                  10 lot of reasons for not calculating damages, for damages
     11     A. The next paragraph, let's read that, too.            11 Category 2, which is totally rebutted by my report.
     12     Q. To the extent the trier of fact determines that      12     Q. My question was did Mr. Oscher calculate
     13 the defendant's recruitment of Messrs. Hutto, Smith and     13 damages for Category 2, yes or no?
     14 Wolf should be considered, the loan volumes produced by     14     A. He does not say that he calculates them in
     15 these three branch managers should not be included in the   15 damages Category 2, that section. I just wanted to make
     16 damage calculation.                                         16 sure the footnotes aren't hiding something.
     17     A. My model directly rebuts that because I'm            17     Q. Do you believe the footnotes are hiding a
     18 including all of the loan volume in my consideration of     18 calculation of damages Category 2 by Mr. Oscher?
     19 the model. And again, Oscher stops there. He doesn't go     19      MS. WALTER: Object to form.
     20 forward and put out a number. Had he, I could be able to    20      THE WITNESS: A Not on my review. I just wanted
     21 tell you exactly what his number is compared to mine.       21 to read footnote 10 very carefully.
     22           What he's doing is building up his case           22      MS. KREITER: Let's talk about your analysis that
     23 and then not providing any number. That doesn't mean        23 is the peer month to month analysis.
     24 that I can't calculate the number and make these            24           My understanding is that you identified
                                                         Page 139                                                     Page 141
      1 assumptions that directly rebut his implied analysis         1 two branch offices at Mutual, Saint Louis branch and
      2 here.                                                        2 Maryland branch, and you believe those branches are peer
      3     Q. So it's an implied analysis?                          3 branches representative of the Tampa and Daytona
      4     A. This is the way that he's phrased this, to the        4 branches.
      5 extent that the loan volumes produced by these branch        5     Q. Is that accurate?
      6 managers should not be included in the damages               6     A. They have structural and data coverage
      7 calculation.                                                 7 resemblance to Tampa and Daytona. As I describe in
      8     Q. Did Mr. Oscher calculate any amount of damages        8 footnote 20.
      9 with respect to Category 2?                                  9     Q. I'm just trying to understand, get a baseline
     10      MS. WALTER: Object to form.                            10 here. The branches you identified as peer branches for
     11      THE WITNESS: Does he calculate damages. Let me         11 purposes of your Category 2 damages analysis is the Saint
     12 review. I believe the answer is no.                         12 Louis and Maryland branches, correct?
     13      MS. KREITER: Let the record reflect the witness is     13     A. Those are the two branches I'm using, yes.
     14 now paging through Mr. Oscher's report.                     14     Q. Why did you believe that the Saint Louis and
     15      THE WITNESS: A I was reading carefully                 15 the Maryland branches were peer branches that should be
     16 footnote 10 to make sure there's no damages calculation     16 used in your analysis?
     17 that snuck in.                                              17     A. Because they exhibit similarities to Tampa and
     18           He says that Oscher used Mutual's Category        18 Daytona in terms of their structural and data coverage.
     19 No. 2 methodology to estimate what Mutual might claim if    19           So to be, to add more to that, all four
     20 it had calculated damages for Category 1. But does not      20 branches operate under the P&L model. Meaning that MOM
     21 credit Mutual's Category 2 methodology.                     21 charges them a portion of loan sales, they otherwise
     22           Not quite sure what he means by that. But         22 operate independently in other aspects.
     23 I don't believe that's a damages estimate for damages       23           Also importantly for my modeling, all four
     24 Category 2. I want to be careful and read this again,       24 of these branches had productivity and loan volume

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                                                         Page 170                                                       Page 172
      1 flow analysis. You say I applied a corporate profit          1    A. It's higher for Daytona than it is for Tampa.
      2 apportionment factor to each of the branch's projected       2    Q. Right. Sorry. 89 for Daytona, then 75.3 for
      3 loan sales over the damages time frame.                      3 Tampa. Do you know, that number is reflective of the
      4     Q. Let me just ask you in general, who at Mutual         4 money that Mutual corporate is making off the various
      5 provided you with the corporate profit apportionment         5 loans that go with those branches, correct?
      6 factor that you used?                                        6    A. That's correct.
      7     A. I don't know who it was. That was provided me         7    Q. Do you know whether the managers were upset
      8 early on. With several other documents, so.                  8 about the amount of profit that Mutual was taking off of
      9     Q. Did you do any diligence to check the validity        9 the loans that they closed?
     10 of the corporate profit apportionment factor?               10    A. I don't know.
     11     A. I looked at the underlying data which is at the      11    Q. You don't know if one of the reasons the branch
     12 loan level, and I understand how they are applying the      12 managers left was because they were running the branches,
     13 BPS to corporate is the column heading.                     13 doing all the work and Mutual was taking all the profit?
     14           I understand that relates to the type of          14      MS. WALTER: Object to form.
     15 loan and can vary, depending on the type of loan whether    15      THE WITNESS: A Yeah, I don't know.
     16 conventional or jumbo or FHA or VA loan. And there's a      16      MS. KREITER: Q Does the -- I'm going to try to
     17 table that they apply to calculate what the BPS to          17 simplify it so I don't have to keep saying corporate
     18 corporate is and that spread sheet provides the average     18 profit apportionment factor. Is it the profit margin
     19 over -- for Tampa and Daytona over the time period of       19 that goes to corporate on the loan --
     20 interest.                                                   20    A. We can use that, that's fine.
     21     Q. My understanding is the corporate profit             21    Q. So the profit margin, would you, does that
     22 apportionment you used is 75.3 basis points for Tampa and   22 change over time?
     23 89 for Daytona, is that correct?                            23           So your damages are out to 2031. Does
     24     A. One moment while I find the page.                    24 that profit margin change?
                                                         Page 171                                                       Page 173
      1           For 2022, the model relies on the 2022           1    A. In my model I am using the average over the
      2 actual corporate margin of 75.3 BPS for Tampa and 89 BPS 2 historical data, which goes from 2019 to 2022. The
      3 for Daytona.                                               3 average is actually I believe below the 2019 margin. So
      4     Q. You're reading from your report?                    4 I use that from 2023 forward.
      5     A. Yes.                                                5    Q. Do you know whether Gennarelli used a variable
      6     Q. How do those basis points translate to dollars,     6 corporate profit margin in his analysis?
      7 if they do?                                                7    A. He may have used another similar variable that
      8     A. They translate to dollars on, in my DCF             8 includes more factors, like the mandatory margin and
      9 analysis. So if you turn to Exhibit 7A.                    9 underwriting fees. I am not completely sure but I have
     10           You will see the .75 is reflected on the        10 seen those additional data.
     11 2022 figure. And EBIT is calculated at .75 times the      11    Q. Do you know what Mr. Gennarelli, do you know
     12 branch loan sales of 68.95 million.                       12 how Mr. Gennarelli calculated his corporate profit
     13     Q. Where is the 75.3 in 7A you're looking at?         13 margin?
     14     A. It is in income to Mutual of Omaha, percentage.    14    A. No.
     15     Q. .75?                                               15    Q. Do you have any discussions with Mr. Gennarelli
     16     A. It's rounded, but it's the same value.             16 about the appropriate corporate profit margin to use when
     17     Q. I am asking a general matter, is there a rule      17 projecting lost profits in the future?
     18 of thumb one basis points equals a thousand dollars or is 18    A. We talked about that on the group call.
     19 that not apples to oranges?                               19    Q. What did you talk about?
     20     A. It depends on the volume. So it's a percentage     20    A. I had questions about the business and I needed
     21 term. Taken as a percentage of the loan sales.            21 to understand the structure, the P&L model and how the
     22     Q. Okay. So I mean in general the basis points        22 profits are calculated. So we had a conversation about
     23 attributable to the corporate profit on the Tampa branch  23 that.
     24 is higher than for the Daytona branch, correct?           24    Q. Tell me as clearly as you can, how does the

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                                                          Page 174                                                       Page 176
      1 profit margin that you used differ from the profit margin     1 analysis, that's not influenced by prior models.
      2 Mr. Gennarelli used?                                          2    Q. You say I understand Mutual receives corporate
      3    A. I don't know. I didn't analyze his work.                3 margin off the top and branches cover their own expenses.
      4    Q. I thought I heard you say though you think he           4 And you say I fully understand that each branch is
      5 considered different criteria than you or different data      5 managed independently by a branch manager.
      6 than you?                                                     6            Do you recall that?
      7    A. Yeah. I know there's a mandatory margin                 7    A. I think I said fully.
      8 underwriting fee that is not reflected in this BPS to         8      MS. WALTER: Can you point us to where.
      9 corporate. And so my model is conservative by that            9      THE WITNESS: I further understand.
     10 measure.                                                     10      MS. KREITER: You're referring to your report. I'm
     11          Again, I didn't analyze his work carefully          11 also interested in separate from what is in your report,
     12 enough to have an opinion on what it includes, but I know    12 and without you looking back at it what are your
     13 that mine doesn't and possible that if he is looking at      13 opinions.
     14 those other variables that he included those, but again I    14    Q. So I mean, do you have an understanding that
     15 did not do a full analysis of his work.                      15 the branches are managed independently by a branch
     16    Q. Okay. Are you able to say whether the                  16 manager?
     17 corporate profit margin he used changed over time?           17      MS. WALTER: To be clear, that was not how you
     18      MS. WALTER: Object to form.                             18 phrased it initially. And also case law is pretty clear
     19      THE WITNESS: A I believe it did based on the            19 this isn't a memory test. She's allowed to look at her
     20 exhibit you handed me. Yes. It looks like 2019 and           20 report.
     21 2020, 2021 and 2022 are all different.                       21      MS. KREITER: Q So again my question is your
     22      MS. KREITER: Q You're taking a look at the              22 opinion, is it that the branches are managed
     23 Gennarelli Exhibit No. 7?                                    23 independently by a branch manager?
     24    A. Yes.                                                   24            Are you looking at your report? In this
                                                          Page 175                                                       Page 177
      1    Q. Let's take a look at that.                              1 case I'm going to ask you testify based on your opinions
      2           The corporate profit margin relied upon by          2 not within --
      3 Mr. Gennarelli is represented I believe, but I will ask       3      MS. WALTER: Her opinions are in the report, Maria.
      4 you to confirm in the column of the spread sheet labeled      4 There's nothing improper about her looking at her report.
      5 corporate profits earned BPS?                                 5      MS. KREITER: Q Okay. Do you believe that the
      6    A. Uh-huh.                                                 6 branches are independently managed by a branch manager,
      7    Q. Is that your understanding?                             7 yes or no?
      8    A. Yes, that's what I'm looking at.                        8      THE WITNESS: A Yes.
      9    Q. Did you attempt to discern why there's a                9     Q. Is it your understanding that the branches
     10 difference between your use of the 75.3 basis points for     10 cover all of their own expenses?
     11 Tampa and Mr. Gennarelli's use of the corporate margin       11     A. I believe so, yes.
     12 numbers that he has listed in Exhibit 7,                     12     Q. Do you know whether Mutual sources any
     13 specifically .53, 1.47?                                      13 customers to the branches?
     14    A. Looks like on average he's using 92 BPS. I'm           14     A. I don't know.
     15 looking at the exhibits.                                     15     Q. How did you determine the corporate profit
     16           I don't know why we have differences.              16 apportionment factor or the profit margin that you
     17 Because again I haven't analyzed this, the underlying        17 applied?
     18 data. I don't know where the data comes from.                18     A. I evaluated the data set that calculates that
     19    Q. As a rebuttal expert for Mutual of Omaha who's         19 for every loan at the two branches.
     20 presenting lost profits, you did not feel obligated to do    20     Q. Sorry, a data set that calculates it?
     21 any diligence to understand how your model differed from     21     A. It's an Excel data set.
     22 Mr. Gennarelli's model or discussed those assumptions and    22     Q. Is it part of that same spread sheet we looked
     23 considerations with him?                                     23 at earlier?
     24    A. No, my task is to conduct an independent               24     A. It's cited in my report. It's different from

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